                                                                                  E-FILED IN OFFICE - RJ
     Case 1:22-cv-03605-JPB     Document 1-1       Filed 09/07/22   Page 1 of 41CLERK OF STATE COURT
                                                                            GWINNETT COUNTY, GEORGIA
                                                                                     22-C-04517-S6
                                                                                8/10/2022 11:33 AM
                                                                                TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA
                                           :
                                           :
JEANNINE STURGILL, individually and as the :
executor of the estate of William          :
Sturgill, deceased; and CLAIRE STURGILL, :     CIVIL FILE ACTION
individually and as mother and next friend :      22-C-04517-S6
of Wyatt Adair, a minor;                   :   NO.: _______________
                                           :
        Plaintiffs,                        :
                                           :
vs.                                        :
                                           :
FOREST RIVER, INC.; FOREST RIVER           :
MANUFACTURING, LLC; LIPPERT                :   JURY TRIAL
COMPONENTS, INC.; LIPPERT COMPONENTS :         DEMANDED
MANUFACTURING, INC; SIGMA SWITCHES         :
PLUS, INC.; K&L ASSET HOLDINGS, INC.       :
d/b/a Northgate RV Center, Inc.; and       :
JOHN DOES # 1-5.                           :
                                           :
        Defendants.                        :


                                   COMPLAINT




                              Matthew B. Stoddard, Esq.
                                 Robert Noens, Esq.
                                THE STODDARD FIRM
                               1534 N. Decatur Rd. NE
                                 Atlanta, GA 30306
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                               Attorneys for Plaintiffs
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                                      INTRODUCTION

                                                1.

       This wrongful death and personal injury product liability case is brought by the wife of

William “Bill” Sturgill (deceased) and the mother of Bill’s four (4) year-old grandson Wyatt

Adair against the manufacturer, component part manufacturers, and product seller of the 2012

Crusader Touring Edition Camper with VIN #: 5ZT3CS1B4CD111601, which is shown here:




(hereinafter “the Camper”)

                                                2.

       The Camper has two slide-out room extenders that provide occupant compartments for

daily living. Those slide-out room extenders also retract, thereby eliminating the occupant

compartments so the Camper can be moved from place to place. One of the slide-out room

extenders can be seen here:

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                                                  3.

       On July 8, 2022, while Bill and his grandson Wyatt were inside the rear of the Camper

with both slide-out room extenders fully extended, the rear slide-out room extender began to

close. As a result, the walls inside the Camper began moving inward eliminating the interior

occupant compartment where Bill and Wyatt were standing.

                                                  4.

       As the walls closed in around them, Bill and Wyatt rushed forward. Wyatt was able to

escape, but Bill was crushed to death by the walls. Four (4) year-old Wyatt was then alone. A

relative later arrived and discovered the disaster.

                                                  5.

       The dangerous crush hazard inherent in Defendants’ slide-out room extenders was a

known problem to the Defendants that has been the subject of past customer complaints,

including complaints of injury to people, pets, and personal property.

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                                                 6.

       The dangerous crush hazard inherent in Defendants’ slide-out room extenders has

resulted in multiple National Highway Traffic Safety Administration (NHTSA) investigations.

These investigations have led to recalls on similar campers manufactured and sold by

Defendants, including NHTSA recall numbers 19V902 and 19V481 (both stating that certain

models have a slide-out mechanism that “may activate unintentionally extending or retracting the

slide room” causing an “increased risk of injury.”).

                                                 7.

       The dangerous crush hazard inherent in Defendants’ slide-out room extenders is so

prevalent in Defendants’ campers that third party businesses have begun manufacturing and

selling RV slide-lock safety mechanisms that can be retrofitted onto Defendants’ campers to lock

the slide-out room extender in place so that unintended movement cannot occur.

                                                 8.

       While Defendants knew about the highly dangerous issue of unintended movement of

their slide-out room extenders, Defendants never fixed the problem, and no one ever informed

Bill or Wyatt or any other members of the Sturgill family that the problem existed.

                                                 9.

       In fact, Defendant Forest River has a history of failing to report dangerous conditions

with its recreational camper vehicles. Specifically, in July of 2015, and as a result of an

extensive government investigation, Defendant Forest River admitted that it had failed to report

early warning data and failed to launch any safety recalls in a timely fashion as required by

federal law. As a consequence of these failures, Defendant Forest River agreed to pay a thirty-

five million dollar ($35,000,000.00) civil penalty to the United States Government.

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                                                 10.

       Regarding the dangerous condition at issue here, there are multiple reasonable actions

that Defendants should have taken but chose not to take which would have prevented this

tragedy. Those poor choices include but are not limited to Defendants’ failure to:

       a.      install a slide-out safety bar on the Camper;

       b.      install a switch cover on the rear slide-out switch to prevent unintentional
               activation;

       c.      place warning placards on and/or next to the slide-out switch;

       d.      install an audible communicator alarm with delay on the slide-out prior to it
               moving – similar to those found in an airport baggage claims carrousel;

       e.      create a floor plan design for the Camper that eliminates the possibility of a crush
               point;

       f.      install an electronic sensor that shuts off the slide motor under excess current
               conditions;

       g.      install a mechanical safety bumper on the edge of the slide-out that senses a crush
               event and turns off the motor – similar to the bumpers on an elevator door;

       h.      install a slide-out control electrical system that does not spontaneously open or
               close without user input;

       i.      institute a recall or at least a service bulletin and send Bill and Jeannine
               information alerting them of the hazard and the need to fix it;

       j.      alert Jeannine and Bill when the Camper was purchased and/or serviced and/or at
               later dates of the dangerous hazards at issue and how those hazards could be
               mitigated; and

       k.      other solutions to be developed in discovery and presented at trial.

                                          THE PARTIES

                                                 11.

       Plaintiff Jeannine Sturgill is the lawful wife and personal representative of the estate of


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William Sturgill deceased. She is a citizen and resident of the State of Georgia. Documents

evidencing her appointment as the personal representative of William “Bill” Sturgill’s estate are

attached hereto as Exhibit A.

                                                 12.

        Plaintiff Claire Sturgill is the biological mother and legal guardian of four (4) year-old

Wyatt Adair. Both Claire and Wyatt are citizens and residents of the State of Georgia.

                                                 13.

        Defendant Forest River, Inc., an Indiana corporation and wholly owned subsidiary of

multi-national conglomerate Berkshire Hathaway, is a manufacturer of recreational vehicles

under the brand names Coachmen, Dynamax, East to West, Forest River, Palomino, Prime Time

Manufacturing, and Shasta. It is a citizen and resident of Indiana and another state unknown at

this time.

                                                 14.

        Defendant Forest River Manufacturing, LLC is a related company of Defendant Forest

River who is also believed to be a manufacturer of recreational vehicles under the brand names

Coachmen, Dynamax, East to West, Forest River, Palomino, Prime Time Manufacturing, and

Shasta. It is a citizen and resident of any state where each of its LLC members are citizens and

residents.

                                                 15.

        Lippert Components, Inc., a Delaware corporation with over two billion dollars

($2,000,000,000.00) in annual sales, is a global manufacturer and supplier of component parts

for recreational, marine, automotive, and commercial vehicles. It is a citizen and resident of

Delaware and another state unknown at this time.

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                                                16.

       Lippert Components Manufacturing, Inc. is a related company of Defendant Lippert

Components, Inc., and it is also believed to be a global manufacturer and supplier of component

parts for recreational, marine, automotive, and commercial vehicles. It is a citizen and resident

of Delaware and another state unknown at this time.

                                                17.

       Defendant Sigma Switches Plus, Inc., an Indiana corporation, manufactures and

distributes a wide variety of switches for the automotive, appliance, marine, and computer

electronics industry. It is a citizen of Indiana and another state unknown at this time.

                                                18.

       Defendant K&L Asset Holdings, Inc., a Tennessee corporation doing business as

Northgate RV Center, is “the largest fifth wheel dealer in Georgia”, whose original RV store and

corporate headquarters “moved from Chattanooga[, Tennessee] to Ringgold[,]” Georgia in 2005

and then in 2016 the company “built a massive RV Super Store” in Ringgold, Georgia. It sells

recreational vehicles in a smaller store in Alco, Tennessee and the Super Center in Ringgold,

Georgia. It is a citizen of Tennessee and Georgia. If it was not already a citizen of Georgia, it

certainly became one after re-locating its corporate headquarters from Chattanooga to Ringgold,

Georgia in 2005 and after opening its Ringgold RV supercenter in 2016. See

https://www.northgaterv.com/about-us.

                                                19.

       Defendant John Doe(s) # 1- 5 are commercial business(es) and/or individuals(s) engaged

in the manufacture, design, testing, inspection, marketing, distribution, and sale of the Camper

and / or its component parts. The identities of John Doe(s) are unknown to Plaintiffs at this time

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but are readily ascertainable to Defendants. Once the identities of John Doe(s) are discovered,

this Complaint will be amended to substitute any party that is or may be liable to Plaintiffs.

                                    PROCEDURAL ISSUES

                                                20.

       Defendant Forest River and Defendant Forest River Manufacturing (the “Forest River

Defendants”) were properly served with process in this matter because a duly authorized process

server provided the Complaint and a signed summons form to the Forest River Defendants’

registered agent: Corporation Services Company, 2 Sun Court Suite 400, Peachtree Corners,

Gwinnett County, GA 30092.

                                                21.

       Defendant Lippert Components and Defendant Component Manufacturing (the “Lippert

Component Defendants”) were properly served with process in this matter because a duly

authorized process server provided the Complaint and a signed summons form to the Lippert

Component Defendants’ registered agent: Corporation Services Company, 135 North

Pennsylvania Street, Suite 1610, Indianapolis, Indiana 46204.

                                                22.

       Defendant Sigma Switches Plus, Inc. was properly served with process in this matter

because a duly authorized process server provided the Complaint and a signed summons form to

Defendant Sigma Switches Plus, Inc.’s registered agent Brian Rothbauer at:

       a.      4703 Wyland Drive, Elkhart, IN 46516; or

       b.      54490 Hunters Court, Elkhart, IN 46514; or

       c.      1214 N Main Street, Jonesboro, AR, 72401.



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                                                         23.

           Defendant K&L Asset Holdings, Inc. d/b/a Northgate RV Center was properly served

with process in this matter because a duly authorized process server provided the Complaint and

a signed summons form to Matthew D. Brownfield, Esq. at:

           a.      Grant, Konvalinka, and Harrison, PC, 632 Chesnutt Street, Chattanooga, TN, or

           b.      947 Calloway Court, #899, Chattanooga, TN 37421; or

           c.      330 Middleview Drive, Ringgold, GA 30736.

                                                         24.

           This Court has jurisdiction over the Defendants for a number of reasons including:

           a.      The Camper was sold to Bill Sturgill in Georgia.

           b.      The incident occurred in Georgia.

           c.      Defendants regularly sell RVs in Georgia.

           d.      Multiple Defendants have filed paperwork with the Georgia Secretary of State
                   allowing them to do business in Georgia.

                                                         25.

           Neither the statute of limitations nor the statute of repose has run on any claims that

Plaintiffs are bringing in this lawsuit because:

           a.      Plaintiff Jeannine Sturgill and her late husband Bill Sturgill purchased the Camper
                   new from Defendant K&L Asset Holdings on April 30, 2012;

           b.      Pursuant to the powers provided in O.C.G.A. § 38-3-62, Georgia Supreme Court
                   Chief Justice Herold Melton declared a Statewide Judicial Emergency that
                   suspended, tolled extended and otherwise granted relief from “any deadline or
                   other time schedules or filing requirements imposed by otherwise applicable
                   statutes, rules, regulations, or court orders, in civil and criminal cases”1 for the
                   period of March 14, 2020 through July 14, 2020 – a period of 122 days.2

1
    Exhibit B, March 14, 2020 Order Declaring Statewide Judicial Emergency.
2
    Exhibit C, July 10, 2020 Fourth Order Extending Declaration of Statewide Judicial Emergency.
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              (emphasis added).

       c.     The incident that is the basis of this Complaint occurred on July 8, 2022;

       d.     This lawsuit was filed on the file-stamped date on the first page of the Complaint;

       e.     Multiple claims herein involving a continuing duty to warn; and

       f.     Multiple claims herein have no statute of repose.

                                               26.

       Gwinnett County is an appropriate venue for this lawsuit because the following

Defendants have placed their registered agent in Gwinnett County:

       a.     Defendant Forest River, Inc.

       b.     Defendant Forest River Manufacturing, LLC.

       c.     Defendant Lippert Components Manufacturing, Inc.

                                       THE INCIDENT

                                               27.

       Between 1:00 p.m. and 2:00 p.m. on July 8, 2022, Bill and Wyatt were at Bill’s home in

Chatsworth, Georgia. The Camper was located in Bill’s back yard.

                                               28.

       While babysitting Wyatt, Bill began the process of stocking the Camper for a future trip.

                                               29.

       Both the front and rear slide-out room extenders for the Camper were in the fully

extended position allowing Bill and Wyatt access to all parts of the Camper.

                                               30.

       Bill and Wyatt were in the rear of the camper.



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                                                31.

       The rear slide-out room extender began to close.

                                                32.

       While the walls were closing in, Bill and Wyatt ran forward attempting to escape.

                                                33.

       Wyatt ultimately escaped, but the closing walls crushed Bill to death.

                                                34.

       Four (4) year-old Wyatt thereafter fled the Camper.

                                                35.

       Leland “Bubba” Sturgill eventually arrived and found Wyatt.

                                                36.

       Local government responders arrived.

                                                37.

       Bill was then pronounced dead from asphyxiation due to crush syndrome.

                                                38.

       Wyatt wakes up most nights crying and asking about his grandfather.

                                           LIABILITY

                                                39.

       All Defendants knew or should have known that the Camper and its component parts

were defective, unreasonably dangerous, and not accompanied by proper warnings.

                                                40.

       All Defendants knew or should have known that the Camper placed the public in general,

and Bill and Wyatt in particular, in danger of injury.

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                                                 41.

          All Defendants foresaw or should have foreseen the malfunction of the Camper, its

components, and the injury that followed.

                                                 42.

          All Defendants knew of alternative designs, alternative manufacturing practices, and

alternative (or additional) warnings that would have made the Camper and its component parts

safer.

                                                 43.

          Despite their knowledge, Defendants manufactured, designed, tested, inspected,

marketed, distributed, and sold the Camper and its component parts.

                                           LIABILITY
                               A:      The Forest River Defendants

                                                 44.

          The Forest River Defendants designed and manufactured the camper.

                                                 45.

          Because the Forest River Defendants had a duty to manufacture and sell reasonably safe

products but breached that duty, the Forest River Defendants are strictly liable for the defective

and unreasonable dangerous condition of the Camper. See O.C.G.A. § 51-1-11(b).

                                                 46.

          Because the Forest River Defendants had a duty to exercise due care in the marketing,

manufacture, design, testing, inspection, marketing, distribution, and sale of the Camper but

breached that duty, the Forest River Defendants are liable in common law negligence. See

Banks v. ICI Americas, 264 Ga. 732 (1994); Chrysler Corp. v. Batten, 264 Ga. 723 (1994)


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                                                  47.

       Because the Forest River Defendants had a duty to issue reasonable and adequate

warnings and breached that duty, the Forest River Defendants are liable for failure to warn. See

Thornton v. E.I. Du Pont De Nemours & Co., 22 F.3d 284, (11th Cir. 1994) (applying Georgia

law); see also Chrysler Corp. v. Batten, supra.

                                                  48.

       Because the Forest River Defendants had a duty to refrain from acting in a manner that

manifests a negligent, willful, reckless, and/or wanton disregard for life or property, the Forest

River Defendants are liable for manufacturing defects, design defects, and failure to warn

without regard to the statute of repose. See Chrysler Group, LLC v. Walden, 303 Ga. 358 (2018).

                                        LIABILITY
                          B:     The Lippert Component Defendants

                                                  49.

       The Lippert Component Defendants manufactured and designed slide-out system that

powered the slide-out room extenders.

                                                  50.

       Because the Lippert Component Defendants had a duty to manufacture and sell

reasonably safe products but breached that duty, the Lippert Component Defendants are strictly

liable for the defective and unreasonable dangerous condition of the Camper’s Slide Out System.

See O.C.G.A. § 51-1-11(b).

                                                  51.

       Because the Lippert Component Defendants had a duty to exercise due care in the

marketing, manufacture, design, testing, inspection, marketing, distribution, and sale of the


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Lippert Components Slide Out System that was incorporated into the Camper but breached that

duty, the Lippert Component Defendants are liable in common law negligence. See Banks v. ICI

Americas, 264 Ga. 732 (1994); Chrysler Corp. v. Batten, 264 Ga. 723 (1994)

                                                52.

          Because the Lippert Component Defendants had a duty to issue reasonable and adequate

warnings and breached that duty, the Lippert Component Defendants are liable for failure to

warn. See Thornton v. E.I. Du Pont De Nemours & Co., 22 F.3d 284, (11th Cir. 1994) (applying

Georgia law); see also Chrysler Corp. v. Batten, supra.

                                                53.

          Because the Lippert Component Defendants had a duty to refrain from acting in a manner

that manifests a negligent, willful, reckless, and/or wanton disregard for life or property, the

Lippert Component Defendants are liable for design defects, manufacturing defects, and failure

to warn without regard to the statute of repose. See Chrysler Group, LLC v. Walden, 303 Ga. 358

(2018).

                                          LIABILITY
                                C:     Defendant Sigma Switches

                                                54.

          Defendant Sigma Switches designed and manufactured the electrical switch that turned

the Lippert Slide Out System on and off.

                                                55.

          Because Defendant Sigma Switches had a duty to manufacture and sell reasonably safe

products but breached that duty, Defendant Sigma Switches is strictly liable for the defective

and unreasonable dangerous condition of the Camper switch that controlled the rear slide-out


                                                                                                   15
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room extender. See O.C.G.A. § 51-1-11(b).



                                                  56.

          Because Defendant Sigma Switches had a duty to exercise due care in the marketing,

manufacture, design, testing, inspection, marketing, distribution, and sale of the Sigma switches

to the slide-out room extenders that were incorporated into the Camper but breached that duty,

Defendant Sigma Switches is liable in common law negligence. See Banks v. ICI Americas, 264

Ga. 732 (1994); Chrysler Corp. v. Batten, 264 Ga. 723 (1994)

                                                  57.

          Because Defendant Sigma Switches had a duty to issue reasonable and adequate

warnings and breached that duty, Defendant Sigma Switches is liable for failure to warn. See

Thornton v. E.I. Du Pont De Nemours & Co., 22 F.3d 284, (11th Cir. 1994) (applying Georgia

law); see also Chrysler Corp. v. Batten, supra.

                                                  58.

          Because Defendant Sigma Switches had a duty to refrain from acting in a manner that

manifests a negligent, willful, reckless, and/or wanton disregard for life or property,

Defendant Sigma Switches is liable for design defects, manufacturing defects, and failure to

warn without regard to the statute of repose. See Chrysler Group, LLC v. Walden, 303 Ga. 358

(2018).

                                          LIABILITY
                             D:     Defendants K&L Asset Holdings

                                                  59.

          Defendant K&L Asset Holdings sold the Camper to Bill and Jeannine Sturgill.


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                                               60.

        Defendant K&L Asset Holdings serviced and repaired Bill and Jeannine’s Camper after

the original sale.

                                               61.

        Because Defendant K&L Asset Holdings had a duty to properly repair the vehicle so as

not to endanger the lives and limbs of others by negligent performance, and because Defendant

K&L Asset Holdings breached this duty, Defendant K&L Asset Holdings is liable in common

law negligence. See Bills v. Lowery, 286 Ga. App. 301 (2007).

                                               62.

        Because Defendant K&L Asset Holdings had a duty to warn the purchaser of the

dangerous and unsafe Camper, and because Defendant K&L Asset Holdings breached this duty,

Defendant K&L Asset Holdings is liable for failure to warn. See Gutierrez v. Hilti, Inc., 349

Ga. App. 752 (2019).

                                               63.

        Because Defendant K&L Asset Holdings had a duty to issue reasonable and adequate

warnings in a manner that is not negligent, willful, reckless, and/or wanton disregard for life

or property, Defendant Sigma Switches is liable without regard to the statute of repose. See

Chrysler Group, LLC v. Walden, 303 Ga. 358 (2018).

                                    PROXIMATE CAUSE

                                               64.

        But for Defendants’ misconduct and Defendants’ breaches of the duties, Bill would not

have been killed.



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                                                  65.

       But for Defendants’ misconduct and Defendants’ breaches of their duties, Wyatt would

not have been injured.

                                                  66.

       Each of the acts listed herein is an act of negligence, willfulness, wantonness, and

recklessness on the part of the Defendants, and one or more of the acts were the proximate

causes of the injuries and damages sustained by the Plaintiffs.

                                               DAMAGES

                                                  67.

       Jeannine brings every claim permissible under Georgia law, including all individual and

estate claims, and seek all special damages, economic losses, medical expenses, funeral and

burial expenses, necessary expenses, pain and suffering, and all compensatory, special, actual,

economic, general, punitive, and all other damages permissible under Georgia law, including, but

not limited to:

                  a.     Personal injuries;

                  b.     Pain and suffering;

                  c.     Mental anguish;

                  d.     Loss of the capacity for the enjoyment of life;

                  e.     Wrongful death;

                  f.     Funeral and burial expenses;

                  g.     Incidental expenses;

                  h.     Loss of earnings;

                  i.     Medical expenses; and,

                                                                                                  18
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                  j.   Consequential damages to be proven at trial.

                                                 68.

       Jeannine, as Bill’s surviving spouse, is entitled to recover the full value of Bill’s life from

Bill’s perspective, and she seeks an amount determined by the enlightened conscience of a fair

and impartial jury.

                                                 69.

       Jeannine is also the personal representative of Bill’s estate. In that capacity, she is

entitled to recover for Bill’s physical injuries, conscious pain and suffering prior to his death, any

emergency medical expenses, all funeral expenses, and all burial expenses incurred by Bill’s

estate. Jeannine again seeks an amount determined by the enlightened conscience of a fair and

impartial jury.

                                                 70.

       Claire brings every claim permissible under Georgia law, including all individual claims

and all claims brought in her capacity as Wyatt’s mother and next friend. Those claims include

all special damages for Wyatt’s medical bills, all necessary corresponding expenses related to

Wyatt’s care as a result of this incident, all of Wyatt’s pain and suffering, and all compensatory,

special, actual, economic, general, punitive, and all other damages permissible under Georgia

law, including, but not limited to:

                  a.   Wyatt’s personal injuries;

                  b.   Wyatt’s past, present, and future pain and suffering;

                  c.   Wyatt’s disability

                  d.   Wyatt’s mental anguish;

                  e.   Wyatt’s loss of the capacity for the enjoyment of life;

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               f.      Past, present, and future medical expenses for Wyatt’s care;

               g.      Incidental expenses related to Wyatt’s care;

               h.      Any loss of earning potential for Wyatt;

               i.      Wyatt’s permanent injuries; and

               j.      Consequential damages to be proven at trial.

                                                 71.

       Additionally, all Plaintiffs are entitled to recover all expenses of litigation including

attorney’s fees pursuant to O.C.G.A. § 13-6-11, because all Defendant has acted in bad faith in

the underlying transaction as stated herein.

                                                 72.

       The jury is entitled to impose punitive damages against all Defendants because each of

the Defendants actions as shown herein and as developed at trial evidence an entire want of care

which would raise the presumption of conscious indifference to consequences, recklessness,

and/or wantonness.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs prays for a judgment against all Defendants for the following:

       1)      That process and summons issue requiring each Defendant to appear as provided
               by law to answer the allegations of the Complaint

       2)      Plaintiffs be awarded actual damages in amounts to be shown at trial;

       3)      Plaintiffs be awarded all general, special, compensatory, economic, and other
               allowable damages in accordance with the enlightened conscience of an impartial
               jury from the Defendants;

       4)      Punitive damages be imposed on Defendants in an amount to be determined by
               the enlightened conscience of the jury;

       5)      Plaintiffs be awarded attorneys’ fees;

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    6)     Plaintiff be awarded a trial by jury; and,

    7)     Plaintiff have such other relief as this Court deems just and appropriate under the
           circumstances.



TRIAL BY JURY IS HEREBY DEMANDED


    This 10th day of August, 2022.




                                                                 /s/ Matthew B. Stoddard
                                                                 Matthew B. Stoddard, Esq.
                                                                 Ga. Bar No.: 558215
                                                                 Robert Noens, Esq.
                                                                 Ga. Bar No.: 193846
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                                                                 Attorneys for Plaintiffs




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                             Exhibit B




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                                                               Page 25  of 41
                                                              Administrative Minutes
                                                                 MAR 14 2020
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                                                               Therese S. Barnes,
                                                            Clerk/Court Executive
             SUPREME COURT OF GEORGIA
                                                         SUPREME COURT OF GEORGIA


    1845

                                                      March 14, 2020
                                                       (Amended)

  ORDER DECLARING STATEWIDE JUDICIAL EMERGENCY


      WHEREAS, the Governor has determined that a Public Health
State of Emergency exists in the State of Georgia due to the spread of
the Coronavirus/COVID-19, and whereas that state of emergency
constitutes a "judicial emergency" pursuant to OCGA § 38-3-60 et seq.,
see OCGA § 38-3-60 (2).

     Now therefore, pursuant to OCGA § 38-3-61, the Honorable Harold
D. Melton, Chief Justice of the Supreme Court of Georgia, DOES
HEREBY ORDER AND DECLARE a Statewide Judicial Emergency in
the State of Georgia. The nature of this emergency is the continued
transmission of Coronavirus/COVID-19 throughout the State and the
potential infection of those who work in or are required to appear in our
courts.


       Thus,in order to protect the health, safety, and liberty of all citizens
in this State, the undersigned hereby declares a Statewide Judicial
Emergency affecting all courts and clerk's offices in the State as it relates
to all judicial proceedings.

     To the extent feasible, courts should remain open to address
essential functions, and in particular courts should give priority to
matters necessary to protect health, safety, and liberty of individuals.
Essential functions are subject to interpretation; however, some matters
that fall into the essential function category are:(1) where an immediate
liberty or safety concern is present requiring the attention of the court as
soon as the court is available;(2) criminal court search warrants, arrest
warrants, initial appearances, and bond reviews; (3) domestic abuse
temporary protective orders and restraining orders; (4) juvenile court
delinquency detention hearings and emergency removal matters; and (5)
mental health commitment hearings.
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     In addition, trials in any criminal case for which a jury has been
empaneled and the trial has commenced as of the date of this order shall
continue to conclusion, unless good cause exists to suspend the trial or
declare a mistrial. The decision whether to suspend a criminal trial or
declare a mistrial rests with the judge presiding over the case.

      To the extent court proceedings are held, they should be done in a
manner to limit the risk ofexposure, such as by videoconferencing, where
possible.

     Pursuant to OCGA § 38-3-62, during the period of this Order, the
undersigned hereby suspends, tolls, extends, and otherwise grants relief
from any deadlines or other time schedules or filing requirements
imposed by otherwise applicable statutes, rules, regulations, or court
orders, whether in civil or criminal cases or administrative matters,
including, but not limited to any:(1) statute of limitation;(2)time within
which to issue a warrant;(3) time within which to try a case for which a
demand for speedy trial has been filed; (4) time within which to hold a
commitment hearing; (5) deadline or other schedule regarding the
detention of a juvenile;(6)time within which to return a bill ofindictment
or an accusation or to bring a matter before a grand jury;(7) time within
which to file a writ of habeas corpus;(8) time within which discovery or
any aspect thereof is to be completed; (9) time within which to serve a
party;(10) time within which to appeal or to seek the right to appeal any
order, ruling, or other determination; and (11) such other legal
proceedings as determined to be necessary by the authorized judicial
official.


      This Statewide Judicial Emergency shall terminate on April
13, 2020, at 11:59 p.m., unless otherwise extended.

     Should the state of emergency extend beyond the period indicated
above or should the nature of the emergency otherwise require
modification, a determination of available alternative remedies for the
conduct of court business will be made as necessary, and a corresponding
order will be entered and distributed in accordance with Georgia law.
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     IT IS FURTHER ORDERED, pursuant to OCGA § 38-3-63, that
notice and service of a copy of this Order shall immediately be sent to the
judges and clerks of all courts in this State and to the clerk of the Georgia
Court of Appeals, such service to be accomplished through means to
assure expeditious receipt, which include electronic means; and

       IT IS FURTHER ORDERED that notice shall also be sent to the
media, the State Bar of Georgia, and the officials and entities listed below
and shall constitute sufficient notice of the issuance of this Order to the
affected parties, counsel for the affected parties, and the public.

       IT IS SO ORDERED this           day of        h 202



                                              Cmef JusticeVHardy. D/Melton
                                                Supreme Court of Georgia

cc:

Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker David Ralston
State Bar of Georgia
Administrative Office of the Courts
Judicial Council of Georgia
Council of Superior Court Clerks of Georgia
Department of Juvenile Justice
Criminal Justice Coordinating Council
Council of Accountability Court Judges
Georgia Commission on Dispute Resolution
Institute of Continuing Judicial Education of Georgia
Georgia Council of Court Administrators
Chief Justice's Commission on Professionalism
Judicial Qualifications Commission
Association County Commissioners of Georgia
Georgia Municipal Association
Georgia Sheriffs' Association
Georgia Association of Chiefs of Police
Georgia Public Defender Council
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Prosecuting Attorneys' Council of Georgia
Department of Corrections
Department of Community Supervision
Georgia Court Reporters Association
Board of Court Reporting
State Board of Pardons and Paroles




                             SUPREME COURT OF THE STATE OF GEORGIA
                                             Clerk's Office, Atlanta

                               I certify that the above is a true extract from the
                        minutes of the Supreme Court of Georgia.
                                Witness my signature and the seal of said court hereto
                        affixed the day and year last above written.



                                                                       Clerk
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                             Exhibit C




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            SUPREME COURT OF GEORGIA
                                                               FILED
                                                         Administrative Minutes
                                                             July 10, 2020
                                                         Thérèse S. Barnes
                                                       Clerk/Court Executive
                                                   SUPREME COURT OF GEORGIA
       FOURTH ORDER EXTENDING DECLARATION OF
           STATEWIDE JUDICIAL EMERGENCY

      On March 14, 2020, in response to the COVID-19 pandemic, the
Honorable Harold D. Melton, as the Chief Justice of the Supreme Court
of Georgia, issued an Order Declaring Statewide Judicial Emergency
pursuant to OCGA § 38-3-61. That Order has been extended three times,
with modifications, by orders issued on April 6, May 11, and June 12,
2020. After consulting with the Judicial Council of Georgia, the Judicial
COVID-19 Task Force, and other judicial partners, recognizing again
that most in-court proceedings compel the attendance of various
individuals rather than allowing them to decide how best to protect their
own health, and further recognizing that the novel coronavirus continues
to spread in Georgia, it is hereby determined that the Order should be
extended again.

      Courts in Georgia have continued to perform essential functions
despite the pandemic. The May 11 extension order also encouraged courts
to work diligently to address the backlog of pending cases on a case-by-
case basis, and the June 12 extension order announced a plan to reimpose
as of July 14 many of the deadlines imposed by law on litigants in civil
and criminal cases that have been suspended, tolled, or extended since
the initial March 14 Order. This order puts that plan into place and will
allow more pending and newly filed cases to move forward in the judicial
process in an effort to return to more robust court operations. Given
current circumstances, however, this order continues the prohibition on
all jury proceedings and almost all grand jury proceedings.

      As has been the direction since the original Order, all Georgia
courts must continue to conduct proceedings, remotely or in-person, in
compliance with public health guidance, applicable statutes and court
rules, and the requirements of the United States and Georgia
Constitutions, including the public’s right of access to judicial
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proceedings and a criminal defendant’s rights to confrontation and an
open courtroom. All courts should continue to use and increase the use of
technology to conduct remote judicial proceedings as a safer alternative
to in-person proceedings, unless required by law to be in person or unless
it is not practicable for technical or other reasons for persons
participating in the proceeding to participate remotely. This order
further delineates the health precautions required for all in-person
judicial proceedings and specifies that courts must adopt operating
guidelines consistent with the Georgia Court Reopening Guide and any
more specific local public health guidance.

     Accordingly, the Order Declaring Statewide Judicial Emergency,
which would have expired on Sunday, July 12, 2020, at 11:59 p.m., is
further extended, effective Sunday, July 12, 2020, at 11:59 p.m.,
until Tuesday, August 11, 2020 at 11:59 p.m. All Georgia courts shall
continue to operate under the restrictions set forth in that Order as
extended, with the following clarifications, modifications, and directions.
Where this order refers to “public health guidance,” courts should
consider the most specific current guidance provided by the federal
Centers for Disease Control and Prevention (CDC), the Georgia
Department of Public Health (DPH), and their local health departments.


I.    Continued Prohibition on Jury Trial Proceedings and Most
      Grand Jury Proceedings

      (A) Current public health guidance recommends social distancing
and other measures that make it impracticable for courts to protect the
health of the large groups of people who are normally assembled for jury
proceedings, including jury selection. Accordingly, the suspension of jury
trials shall remain in effect and until further order, all courts are
prohibited from summoning new trial jurors and grand jurors and from
conducting criminal or civil jury trials.

     (B) Grand juries that are already impaneled or are recalled from
a previous term of court may meet to attend to time-sensitive essential
matters, but these grand juries shall not be assembled except when
necessary and only under circumstances in which social distancing and

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other public health guidance can be followed. A guidance document about
the continued authority of grand juries impaneled prior to the issuance
of the Order is included in the Appendix to this order. Courts and counsel
are reminded that many criminal cases may proceed on accusation and
do not require a grand jury indictment.

      (C) The Judicial COVID-19 Task Force continues to develop
policies, procedures, and templates to allow the safe resumption of jury
trials and grand jury proceedings. These materials will be publicized
when ready, but it is unlikely that any jury proceedings will begin until
September or later.


II.    Reimposition of Deadlines on Litigants

       (A) As announced in the June 12 extension order, this order
hereby reimposes all deadlines and other time schedules and filing
requirements (referred to collectively herein as “deadlines”) that are
imposed on litigants by statutes, rules, regulations, or court orders in
civil and criminal cases and administrative actions and that have been
suspended, tolled, extended, or otherwise relieved by the March 14, 2020
Order Declaring Statewide Judicial Emergency, as extended, on the
following schedule and with the following exceptions and conditions:

            (1) Consistent with Section I above, deadlines for jury
trial proceedings (including statutory speedy trial demands),
deadlines for grand jury proceedings, and deadlines calculated
by reference to the date of a civil or criminal jury trial or grand
jury proceeding shall remain suspended and tolled. This provision
does not apply to deadlines calculated by reference to the date of non-jury
(bench) trials. Until grand jury proceedings are generally authorized,
statutes of limitation in criminal cases shall also remain tolled.

         (2) All other deadlines imposed on litigants shall be
reimposed effective July 14, 2020, as further explained below.

           (3) In cases that were pending before the March 14
Order, litigants will have the same amount of time to file or act after

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July 14 that they had as of March 14. For example, if an answer in a civil
case was due on March 20, that answer will now be due on July 20, and
if a criminal defendant’s pretrial motions were due on March 23, they will
now be due on July 23.

            (4) In cases filed between March 14 and July 13, 2020,
the time for deadlines will begin running on July 14. For example, if a
civil complaint was filed in June and the answer would have been due 30
days later, that 30-day period will begin on July 14 and the answer will
be due on August 13.

           (5) In cases filed on or after July 14, 2020, litigants
shall comply with the normal deadlines applicable to the case.

             (6) If the reimposed deadline falls on a weekend or legal
holiday, the deadline will as normal be the next business day. See OCGA
§ 1-3-1 (d) (3).

            (7) Any extension of time for a litigant’s filing or action
that was granted by a court, or was agreed or consented to by the litigants
as authorized by law, before July 14, 2020 shall also extend the time for
that filing or action after July 14. For example, if a litigant’s filing was
initially due on March 10 but she was granted a 10-day extension of that
deadline (to March 20), the filing will be due on July 24 (10 days after
July 14).

           (8) Litigants may be entitled to additional time based on the
provisions of a local judicial emergency order applicable to their case if
such an order tolled applicable deadlines before the March 14, 2020
Order Declaring Statewide Judicial Emergency or tolls applicable
deadlines after July 14, 2020.

           (9) The tolling and suspension of deadlines imposed on
litigants in civil and criminal cases that are calculated by reference
to terms of court shall be lifted as of July 14, 2020, and any regular
term of court beginning on or after July 14 shall count toward such
deadlines. See also the May 4, 2020 Guidance on Deadlines and Time
Limits Defined by Reference to Terms of Court included in the Appendix.

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            (10) The 122 days between March 14 and July 14, 2020, or
any portion of that period in which a statute of limitation would have
run, shall be excluded from the calculation of that statute of limitation.

          (11) Litigants may apply in the normal way for extensions of
reimposed deadlines for good cause shown, and courts should be
generous in granting extensions particularly when based upon
health concerns, economic hardship, or lack of child care.

      (B) Recognizing the substantial backlog of pending cases,
deadlines imposed on courts shall remain suspended and tolled.
All courts should nevertheless work diligently to clear the backlog and to
comply with usual deadlines and timetables to the extent safe and
practicable.

      (C) If before July 14 a court reimposed deadlines by order in a
specific case based on the authority to do so granted by prior extension
orders, the case-specific order reimposing deadlines shall control
over the deadlines for the same filings or actions reimposed by
this statewide order.

      (D) If in a divorce or adoption case a time period required by law
actually passed or passes before the court entered or enters a consent
order, consent judgment, or consent decree regarding the divorce or
adoption, such order, judgment, or decree shall not be invalid based on
any suspension or tolling of the applicable period by the March 14 Order
as extended.


III. Proceedings Conducted Remotely Using Technology

      (A) All courts should continue to use and increase the use of
technology to conduct remote judicial proceedings as a safer alternative
to in-person proceedings, unless required by law to be in person or unless
it is not practicable for technical or other reasons for persons
participating in the proceeding to participate remotely.



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     (B) Courts should understand and utilize the authority provided
and clarified by the emergency amendments made to court rules on
videoconferences and teleconferences.

      (C) Courts may compel the participation of litigants, lawyers,
witnesses, and other essential personnel in remote judicial proceedings,
where allowed by court rules (including emergency amendments thereto).
Such proceedings, however, must be consistent with public health
guidance, must not impose undue burdens on participants, and must not
be prohibited by the requirements of the United States or Georgia
constitutions or applicable statutes or court rules.

      (D) In civil, criminal, juvenile, and administrative proceedings,
litigants may expressly consent in the record to remote proceedings not
otherwise authorized and affirmatively waive otherwise applicable legal
requirements.

     (E) Courts must ensure the public’s right of access to judicial
proceedings and in all criminal cases, unless affirmatively waived in the
record, a criminal defendant’s rights to confrontation and an open
courtroom.


IV.    In-Person Proceedings            Under      Guidelines       for    Safe
       Operations

     (A) Courts have discretion to conduct in-person judicial
proceedings, but only in compliance with public health guidance
and with the requirements of the United States and Georgia
constitutions and applicable statutes and court rules, including
the public’s right of access to judicial proceedings and a criminal
defendant’s rights to confrontation and an open courtroom.

     (B) No court may compel the attendance of any person for
a court proceeding if the court proceeding or the court facility in
which it is to be held is not in compliance with this order,
including in particular large calendar calls. Courts are also prohibited
from compelling in-person participation in any court-imposed

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alternative dispute resolution session that is to be conducted in
a manner inconsistent with applicable public health guidelines.

     (C) Each court shall develop and implement operating
guidelines as to how in-court proceedings generally and particular types
of proceedings will be conducted to protect the health of litigants,
lawyers, judges, court personnel, and the public.

           (1) The Judicial Council Strategic Planning Committee and
the Judicial COVID-19 Task Force have issued a bench card entitled
“Georgia Court Reopening Guide,” which is included in the Appendix and
should be used as the template for such operating guidelines, which at a
minimum should include all subject matters contained therein. Courts
should also consider guidance from local health departments and
guidance provided by CDC and DPH; if local public health guidance is
more restrictive than the bench card, the local public health guidance
should be followed instead.

          (2) With regard to everyone who works in a court facility,
the operating guidelines shall require isolation of any person with
known or suspected COVID-19 and quarantine of any person with
COVID-19 exposure likely to result in infection, in accordance with the
DPH Seventh Amended Administrative Order for Public Health Control
Measures, a link to which may be found in the Appendix, or any
subsequent version thereof.

            (3) When there is reason to believe that anyone who works
or has visited a court facility has been exposed to COVID-19, DPH or the
local health department shall be notified and notification of persons
who may have been exposed shall occur as directed by DPH or the local
health department.

            (4) To the extent operating guidelines previously
implemented by courts do not comply fully with the
requirements of this order, courts shall develop and implement
revised guidelines within 10 days of this order.
     (D) Courts of different classes that share courthouse facilities or
operate in the same county should coordinate their operating guidelines,

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and should seek to coordinate operating guidelines with non-judicial
entities sharing courthouse facilities.

      (E) Each court must submit its operating guidelines to the
Administrative Office of the Courts at https://georgiacourts.gov/covid-19-
court-operating-guidelines-form/         to      be       posted        at
https://georgiacourts.gov/covid-19-court-operating-guidelines/     as    a
centralized website available to litigants, lawyers, and the public.
Operating guidelines also should be prominently posted at courthouse
entrances and on court and local government websites to provide advance
notice to litigants, lawyers, and the public.

     (F) Operating guidelines shall be modified as public health
guidance is modified, and shall remain in effect until public health
guidance indicates that they are no longer required.


V.    Discretion of Chief Judges to Declare More Restrictive
      Local Judicial Emergencies

      (A) Nothing in the Order Declaring Statewide Judicial
Emergency as extended and modified limits the authority of the Chief
Judge of a superior court judicial circuit under OCGA §§ 38-3-61 and 38-
3-62 to add to the restrictions imposed by the statewide judicial
emergency, if such additional restrictions are constitutional, necessitated
by local conditions, and to the extent possible ensure that courthouses or
properly designated alternative facilities remain accessible to carry out
essential judicial functions. A Chief Judge may impose such additional
restrictions only by a properly entered order.

      (B) No court may disregard the restrictions imposed by the Order
as extended and modified.




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VI.    Guidance on Application of the Order

      Included in the Appendix are several guidance documents that
clarify the application of the Order in particular contexts. Additional
guidance documents may be posted on the AOC’s website at
https://georgiacourts.gov/judicial-council/aoc/. Guidance related to the
tolling of deadlines should be read in light of the reimposition of deadlines
by this order and by orders in specific cases.


VII. Professionalism

      With regard to all matters in this challenging time, all lawyers are
reminded of their obligations of professionalism. Judges are also
reminded of their obligation to dispose of all judicial matters promptly
and efficiently, including by insisting that court officials, litigants, and
their lawyers cooperate with the court to achieve that end, although this
obligation must not take precedence over the obligation to dispose of
matters fairly and with patience, which requires sensitivity to health and
other concerns raised by court officials, litigants and their lawyers,
witnesses, and others.


VIII. Notice Provisions

     (A) Notice will be provided as to the expected termination of the
Order as extended and modified at least one week in advance to allow
courts to plan for the transition to fuller operations.

      (B) The clerks and court administrators of trial courts that
conduct jury trials and convene grand juries will be provided sufficient
notice of the resumption of jury proceedings to allow the complicated
process of summoning potential jurors to be completed.

      (C) The impact of COVID-19 varies across the state, and the level
of response and adjustment will likewise vary among courts. Courts
should make available to the public the steps they are taking to safely
increase operations while responding to the COVID-19 pandemic.

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Recognizing that not all courts have a social media presence or website,
the Administrative Office of the Courts will continue to post court-specific
information as it becomes available on the AOC website at
https://georgiacourts.gov/covid-19-preparedness/.

      (D) Pursuant to OCGA § 38-3-63, notice and service of a copy of
this order shall immediately be sent to the judges and clerks of all courts
in this State and to the clerk of the Court of Appeals of Georgia, such
service to be accomplished through means to assure expeditious receipt,
which include electronic means. Notice shall also be sent to the media,
the State Bar of Georgia, and the officials and entities listed below and
shall constitute sufficient notice of the issuance of this order to the
affected litigants, counsel for the affected litigants, and the public.

      IT IS SO ORDERED this 10th day of July, 2020, and effective July
12, 2020, at 11:59 p.m.




                                            Chief Justice Harold D. Melton
                                              Supreme Court of Georgia




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                              APPENDIX


      Guidance on Tolling of Filing Deadlines (March 27, 2020)


     Guidance on Tolling of Statutes of Limitation (April 6, 2020)


Guidance on Deadlines and Time Limits Defined by Reference to Terms
                       of Court (May 4, 2020)


               Guidance on Grand Juries (May 4, 2020)


          Further Guidance on Grand Juries (May 11, 2020)


           Georgia Court Reopening Guide (June 11, 2020)

DPH Seventh Amended Administrative Order for Public Health Control
                   Measures (June 16, 2020)




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cc:
Governor Brian P. Kemp
Lt. Governor Geoff Duncan
Speaker David Ralston
State Bar of Georgia
Administrative Office of the Courts
Judicial Council of Georgia
Council of Superior Court Clerks of Georgia
Department of Juvenile Justice
Criminal Justice Coordinating Council
Council of Accountability Court Judges
Georgia Commission on Dispute Resolution
Institute of Continuing Judicial Education of Georgia
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Georgia Court Reporters Association
Board of Court Reporting
State Board of Pardons and Paroles
Constitutional Officers Association of Georgia
Council of Magistrate Court Clerks
Council of Municipal Court Clerks
                                         SUPREME COURT OF THE STATE OF GEORGIA
                                                  Clerk’s Office, Atlanta

                                             I certify that the above is a true extract from the
                                   minutes of the Supreme Court of Georgia.
                                             Witness my signature and the seal of said court hereto
                                   affixed the day and year last above written.




                                                                                     , Clerk


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